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YWCA Northeast Kansas Center for Safety and Empowerment’s Motion to Quash Defendant's Ru|e 17(c)
Subpoena, Page 1 of 7

 

United States District Court
District of Kansas

UNITED STATES OF AMERICA, Plaintiff,
v.
Ma Li VANSKIKE, Defendant.

No. 18-40055-01-HLT

YWCA Northeast Kansas Center for Safety and Empowerment’s Motion to
Quash Defendant’s Rule 17(c) Subpoena and Argument in Support

Cecilia T. Mariani, KS Bar #17234, 434 SW Topeka Boulevard, Topeka, KS 66603;
Phone: 785-235-3415; Fax: (785) 235-58089; email cecmarianilO10@gmail.com, for
the YWCA Northeast Kansas Center for Safety and Empowerment.

The YWCA Northeast Kansas, Center for Safety and Empowerment, Topeka, KS
(hereafter, “YWCA”), a non-party to this action, moves for an Order quashing a
subpoena that Defendant, Ma Li Vanskike served on the YWCA on or about March
11, 2019. Ms. Vanskike is unable to show the requested information meets the

requirements of F ederal Rules of Criminal Procedure 17(0), to wit,

“(1) that the documents are evidentiary and relevant; (2) that they are
not otherwise procurable reasonably in advance of trial by exercise of
due diligence; (3) that the party cannot properly prepare for trial
Without such production and inspection in advance of trial and that the
failure to obtain such inspection may tend unreasonably to delay the
trial; and (4) that the application is made in good faith and is not
intended as a general "fishing expedition." United States v. Abdush-
Shakur, 465 F.3d 458, 467 (10th Cir. 2006), using United States v.
Nixon, 418 U.S. 683, 699-700, 94 S.Ct. 3090, 41 L.Ed.2d 1039 (1974).

This Court should quash the subpoena accordingly.

 

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BACKGROUND

The YWCA Northeast Kansas is a local association of YWCA, USA, Inc., a national
non profit organization that provides services and support to Women and their
families. The YWCA USA’s stated mission surrounds a dedication to eliminating
racism, empowering Women, and promoting peace, justice, freedom, and dignity for
all. (YWCA Mission Vision, YWCA.org). Among its programs, the YWCA Northeast
Kansas operates its Center for Safety and Empowerment, whose stated purpose is to
provide, “...FREE and CONFIDENTIAL services to victims of domestic and sexual
violence, stalking, and human trafficking in Shawnee, Jackson, and Wabaunsee

Counties in Kansas.” (emphasis contained, https://www.vwcaneks.org/what-we-

do/cse[) .

On or about March 15, 2019, Michelle McCormick, Program Director for the YWCA,
received the Defendant’s subpoena. The subpoena commands production of:
1. Any reports or statements made regarding Hua Yang’s contact with YWCA in
June of 2018; and
2. Any records of services provided or offered to Hua Yang regarding contact with
YWCA in June of 2018.

The subpoena further commanded Ms. McCormick produce the documents to the
office of the Federal Public Defender’s office on 3/25/19 at 5:00 p.m. (See attached
Exhibit A, Subpoena to Produce Documents, 3/11/2019).

Upon receipt of the subpoena, Ms. McCormick engaged in discussions with Carl
Folsom, attorney for the Defendant, in her attempt to implore Mr. Folsom and his
client to find another way to obtain the information. Ms. McCormick sought to

preserve the stated direct purpose of confidentiality in the services the YWCA, who

 

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may or may not have encountered or offered services to the person named in
Vanskike’s subpoena, Additionally, Ms. McCormick related to Mr. Folsom her
concerns that disclosing any of the information demanded would jeopardize one or
more of their funding sources, as the stated requirements of many of their grant
providers mandate the preservation of confidentiality in all aspects of programs and
services at the Center for Safety and Empowerment. AS a result of Mr. Folsom’s
insistence on behalf of his client, that the YWCA comply with the demands made in
the subpoena, Ms. McCormick and her staff reached out to counsel Who entered her

appearance on the YWCA’s behalf and submits this Motion and Argument.

ARGUMENT

The defendant, Ms. Vanskike is treating the trial subpoena process as an opportunity
to conduct private civil-litigation style discovery--a process which is prohibited by
binding precedent. Vanskike has not articulated, let alone substantiated, how the
items demanded clear the three hurdles of “(1) relevancy; (2) admissibility; [and] (3)
specificity.” Nixon, 418 U.S. at 699. The subpoena that Vanskike served on the YWCA
exceeds the bounds of Federal Rule of Criminal Procedure 17(c). This Court should

therefore issue an order to quash it.

I. RULE 17(c) IS NOT A PRIVATE DEFENSE DISCOVERY TOOL.

Federal Rule of Criminal Procedure 17 (c) permits the issuance of subpoenas duces
tecum and gives the Court discretion to “direct the witness to produce the designated
items in court before trial or before they are offered in evidence.” However,
authorization for pre-trial inspection contained in “Rule 17 (c) is ‘not intended to
provide an additional means of discovery,’ but ‘to expedite the trial by providing a
time and place before trial for the inspection of the subpoenaed materials.’ ” United

States v. Abdush-Shakur, 465 F.3d 458, 467 (10th Cir. 2006) (quoting Bowman Dairy

 

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Co. v. United States, 341 U.S. 214, 220 (1951)); see also United States v. Jannuzzio,
22 F.R.D. 223, 227 (D. Del. 1958) (“The fact that subpoenaed material may be
evidentiary and subject to production at the trial . . . under a subpoena duces tecum
obtained by a defendant does not mean that the defendant is entitled as a matter of
right to pre-trial production and inspection under Rule 17(c).”). To that end, the

Supreme Court has explained:

..in order to require production prior to trial, the moving party must
show: (1) that the documents are evidentiary and relevant; (2) that they
are not otherwise procurable reasonably in advance of trial by exercise
of due diligence; (3) that inspection may tend unreasonably to delay the
trial; and (4) that the application is made in good faith and is not
intended as a general “fishing expedition.” Nixon, 418 U.S. 683 at 699.

Thus, a movant “must clear three hurdles: (1) relevancy; (2) admissibility; [and] (3)
specificity.” Id. All three requirements must be satisfied to warrant issuance of the
subpoena. United States v. ll/Iorris, 287 F.3d 985, 991 (10th Cir. 2002). Vanskike fails
to carry this burden. lt is not clear whether the person named in the subpoena is a
witness or victim, or whether Ms. McCormick of the YWCA or any of her staff are
named Witnesses in the case. lt is further not established as to what relevant,
admissible information that may or may not be contained in the records, reports or
statements sought in the subpoena and how the information may relate to the charges

or allegations contained in the United States’ indictment against Vanskike.

The subpoena also violates Rule 17(c) because it commands that reports, documents,
statements and records be delivered directly to defense counsel, a private ex parte

process specifically prohibited by the court, for example,

Only with court intervention can the subpoena be utilized for production
before the court at any time prior to the trial or prior to the time When
the documents are to be offered in evidence. Only the court may, upon

 

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the production of the documents, permit the documents or objects to be
inspected by the parties or their attorneys. Nowhere in Fed. R. Crim. P.
17 do we find language allowing the utilization of the court’s subpoena
power privately, with a secret return directly to an attorney. United
States v. Santiago-Lugo, 904 F. Supp. 43, 45-46 (D.P.R. 1995).

In the event the Court elects not to quash the subpoena in its entirety, the YWCA
asks that it be modified to direct production to the Court, which can review the
information in camera and determine Whether release to the parties and use at trial
is appropriate However, this should only be done after the Court has determined
that the information demanded by the defense passes all tests required under Nixon

and its progeny, which the moving party insists, the demand fails.

A. PROPONENT OF A SUBPOENA MUST ESTABLISH THAT THE
REQUESTED DOCUMENTS ARE RELEVANT AND ADMISSIBLE.

In order to demonstrate relevancy, the defendant must show “how the requested
material relate [s] to the charges against him or how the documents [will be] used in
his defense.” Abdush-Shakur, 465 F.3d at 467. “Conclusory statements do not
establish relevance.” Id.; see also Nixon, 418 U.S. at 700 (finding relevance for a Rule
17(c) subpoena for tapes based upon “the sworn testimony or statements of one or

more of the participants in the conversations as to what was said at the time”).

Moreover, “[t]hat the requested material is ‘potentially’ relevant or admissible is not
enough, for both tests must be satisfied when the evidence is sought.” United States
v. Wittig, 250 F.R.D. 548, 552-53 (D. Kan. 2008). Thus, there must be “a sufficient
likelihood” that each requested document “contains [information] relevant to the
offenses charged in the indictment.” Nixon, 418 U.S. at 700. Furthermore, evidence
admissible only for impeachment purposes cannot be obtained through a Rule 17(c)

subpoena, See id. at 701 (“Generally, the need for evidence to impeach witnesses is

 

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insufficient to require its production in advance of trial.”). Also, Rule 17 (c) does not
"allow a blind fishing expedition seeking unknown evidence." United States v. Reed,
726 F.2d at 576-77 (9th Cir. 2009). A "broad request" for documents "based solely on
the mere hope that some exculpatory material might turn up" does not justify
enforcement of a Rule 17(c) subpoena. United States v. Cuthbertson, 630 F.2d 139,
146 (3d Cir. 1980), cert. denied, 449 U.S. 1126 (1981).

None of the requests contained within defendant’s subpoena establish the statements
or information requested are relevant to the allegations or charges brought by the

United States.

B. TRIAL SUBPOENAS MUST CONTAIN SPECIFIC REQUESTS.

Because a party cannot use Rule 17(c) as a discovery tool, demands for the equivalent
of “any” or “all” documents of a particular sort, or “all documents relating or referring
to” some issue or event, are improper. See United States v. Reyes, 239 F.R.D. 591, 605-
06 (N.D. Cal. 2006); United States v. Ruedlinger, 172 F.R.D. 453, 456 (D. Kan. 1997);
United States v. Jackson, 155 F.R.D. 664, 668 (D. Kan. 1994) (rejecting “any and all

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documents, all related records”).
The Tenth Circuit has not hesitated to enforce this principle. ln United States v.
Morris, 287 F.3d 985 (10th Cir. 2002), the defendant requested pre-trial production
of “all records, documents, reports, telephone logs, etc., surrounding the investigation
into the FBI undercover agent’s shooting of Mr. Morris and the agent’s entire
personnel file.” Id. at 991 (emphasis added). The district court quashed the subpoena.
The Tenth Circuit affirmed: “Courts have held that requests for an entire file are
evidence of an impermissible fishing expedition.” Id. It held that “[i]t appear[ed] that

defense counsel attempted to use the Rule 17(c) subpoena for impermissible discovery

 

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purposes”; thus, the defendant’s “Rule 17 (c) subpoena did not overcome the hurdle of
specificity as required by Nixon.” Id.; see also United States v. Marcello, 423 F.2d 993,
l006 (5th Cir. 197 0) (concluding that a Rule 17(c) subpoena seeking to compel the
pre-trial production of the personnel files of the government’s chief witness “was
clearly [an] attempt[] to use Rule 17(c) as a discovery device, which it is not”).
Vanskike’s general subpoena request of “any reports or statements” and “any records”

fail these requirements under Rule 17, and should be quashed by the Court.

CONCL USION

The subpoena that Vanskike, though counsel served upon the YWCA, a non party,
purportedly under Federal Rule of Criminal Procedure 17(c), and requesting direct
return to counsel, is an attempt to conduct the sort of private “fishing expedition” that
is impermissible in a criminal case. See Nixon, 418 U.S. at 699. Ms. Vanskike has not
offered, let alone substantiated, a theory as to how the request is “relevant[,] . . .how
the information is not “otherwise procurable,” and would be “admissib[le]” at trial;
moreover, the request is entirely vague and unspecific. See id. This Court should issue

an order quashing the subpoena accordingly.

Respectfully submitted,

s/ Cecilia T. Mariani

CECILIA T MARIANI (KS Bar #17234)

Attorney for Non-Party Movant, YWCA Northeast Kansas
Center for Safety and Empowerment

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(785) 235-3415 (phone) (785) 235-8089 (fax)

CecmarianilOlO@gmail.com

 

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United States District Court
District of Kansas

UNITED STATES OF AMERICA, Plaintiff,
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YWCA of Northeast Kansas Center for Safety and Empowerment’s Motion
to Quash Defendant’s Rule 17(c) Subpoena and Argument in Support

Exhibit A: Subpoena to Produce Documents, Information, or Objects in a
Criminal Case, 3/22/2019

 

AO 89B (07/16) d;,t:¥l_: ~ '

 

 

for the
District of Kansas
United States ofAmerica )
V- )
) Case No. 18-40055-01-HLT
Ma Li Vanskike )
Dejendam )
SUBPOENA T0 PRODUCE DOCUMENTS, INFORMATION, OR
OBJECTS IN A CRIMINAL CASE

TO, YWCA Center for Safety and Empowerment
' Attn: Michelle McCormick, ngram Director

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(Name of person' to whom this subpoena is directed)

YOU ARE COMMANDED to produce at the time, date, and place set forth below the following books, papers,
documents, data, or other objects:

l. Any reports or statements made regarding Hua Yang’s contact with YWCA in June of 2018.
2. Any records of services provided or offered to Hua Yang regarding contact with YWCA in june of 2018.

 

Place: Federal Public Defender's once Dare and Time= 03/25/2019 5;00 pm
117 SW 6th Ave., Su'rte 200
Topeka, KS 66603

 

 

 

Certain provisions of Fed. R. Crim. P. 17 are attached, including Rule l7(c)(2), relating to your ability to file a
motion to quash or modify the subpoena; Rule l7(d) and (e), which govern service of subpoenas; and Rule l7(g),
relating to your duty to respond to this subpoena and the potential consequences of not doing so.

(SEAL)
Date; 03/11/2019 v, ,
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si J. Loueyi- `Deputy clerk
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The name, address, e-mail, and telephone number of the attorney representing (name ofpafiy) .‘ c . .-.-' "Ma Li Vanskike
, who requests this subpoena, are:

 

Carl Folsom, Assistant Federal Public Defender, 117 SW 6th Ave., Suite 200, Topekal KS 66603; (785) 232-9828;
car|__fo|som@fd.org

Notice to those who use this form to request a subpoena
Before requesting and serving a subpoena pursuant to Fed. R. Crim. P. 17(c), the party seeking the subpoena is advised to
consult the rules of practice of the court in which the criminal proceeding is pending to determine whether any local rules
or orders establish requirements in connection with the issuance of such a subpoena If no local rules or orders govern
practice under Rule 17(c), counsel should ask the assigned judge whether the court regulates practice under Rule 17(c) to
l) require prior judicial approval for the issuance of the subpoena, either on notice or ex parte; 2) specify where the
documents must be returned (e.g., to the court clerk, the chambers of the assigned judge, or counsel’s oftice); and 3)
require that counsel who receives produced documents provide them to opposing counsel absent a disclosure obligation

under Fed. R. Crim. P. 16.

Please note that Rule 17(c) (attached) provides that a subpoena for the production of certain information about a victim
may not be issued unless first approved by separate court order.

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